                              ORAL ARGUMENT ACKNOWLEDGMENT FORM
       U.S. COURT OF APPEALS FOR THE FIFTH CIRCUIT, 600 S. Maestri Place, New Orleans, LA 70130
                                         (504) 310-7700



I, Francisco J. Ortega
                                                              (Full Name)

   as arguing counsel, acknowledge receiving notice that the below case has been scheduled for
   oral argument with the United States Court of Appeals for the Fifth Circuit.


   24-50149                    United States of America                            v. State of Texas et al.
      (Case Number)                                                           (Short Title)

   is scheduled for oral argument at                9:00 am        on                April 3, 2024                   located in the
                                                     (Time)                                   (Date)

   NEW ORLEANS - U.S. Court of Appeals for the Fifth Circuit, 600 Camp Street, New Orleans, LA, 70130
                                                               (Location)



   /s/ Francisco J. Ortega                                                                         3/19/2024
                                      (Signature)                                                                (Date)



                     List all parties being represented for argument and select the party type
   Bill D. Hicks, in his official capacity as District Attorney for the 34th District




         ■

    Appellant          Appellee            Cross Appellant                  Cross Appellee              Amicus            Intervenor
       According to this court's rules, a cross or separate appeal will be argued with the initial appeal during the same argument,
       unless the court directs otherwise. If a case involves a cross appeal, the party who first files a notice of appeal is
       considered the appellant unless the parties otherwise agree or the court directs otherwise. If separate appellants support
       the same argument, they are to avoid duplication of argument.
      THE ORDER OF PRESENTATION & DIVISION OF ORAL ARGUMENT TIME WILL BE AS FOLLOWS:
                              (Counsel Name)                                  (Time in Minutes)            (Rebuttal Time)*
       #1
       #2 Francisco J. Ortega                                                        5                               0
       #3
       #4
       #5

         SESSION # 37

                  *Rebuttal time for appellants only. The court prefers no more than 5 minutes for rebuttal.



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